 

AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for.the
Eastern District of Wisconsin

In the Maiter of the Search of:

In The Matter Of The Search Of Information Associated
With Facebook User Identification Number 688885126
Stored By Premises Controlled By Facebook Of Menlo Park,
California

Case No. [?- M- ATG

 

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

See Attachment A

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B

The basis for the search under Fed. R. Crim P. 41(c) is:
mi evidence of a crime;
[ contraband, fruits of crime, or other items illegally possessed;
C property designed for use, intended for use, or uséd in committing a crime;
Cl] a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of: 21 U.S.C, Section 841(a)(1) (manufacture, dispense, disperse a controlled substance)

The application is based on these facts: See attached affidavit.

gar1b
Delayed notice of ___ days (give exact ending date if more than 30 days: June 23 } ) is requested.
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

  

 

 

 

Matthew Mason, Special Agent, aTF
Printed Name and Title

 

   

 

 

 

~
Sworn to before me and signed in my presence:
|
Date: ‘Dec. 2%, Zea} : : |
; ° Judge's signature f
City and State: Milwaukee, Wisconsin David E. Jones _U.S. Magistrate Judge

 

 

Printed Ne : a Tith
Case 2:17-mj-00249-NJ Filed 03/20/18 Page 1’6? 63” Bocument 1
 

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN

IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH

FACEBOOK USER IDENTIFICATION Case No. | / -f"- At?

‘-NUMBER 688885126 STORED BY

 

PREMISES CONTROLLED BY Filed Under Seal
FACEBOOK OF MENLO PARK,
CALIFORNIA

AFFIDAVIT IN SUPPORT OF

AN APPLICATION FOR A SEARCH WARRANT
I, Matthew Mason, being first duly sworn, hereby depose and state as follows:
I. INTRODUCTION AND AGENT BACKGROUND

1. Imake this affidavit in support of an application for a search warrant for
information associated with a certain Facebook user ID that is stored at premises
owned, maintained, controlled, or operated by Facebook, a social networking company
headquartered in Menlo Park, California. The information to be searched is described
in the following paragraphs and in Attachment A. This affidavit is made in support of
an application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and
2703(c)(1)(A) to require Facebook to disclose to the government records and other
information in its possession, pertaining to the subscriber or customer associated with
the user ID.

2. It is believed that the information associated with Facebook User ID
688885126, and Facebook Username “Brian Bolo Robinson” may contain evidence of
violations of 21 U.S.C. 841(a)(1) (manufacture, dispense, disperse a controlled

substance). As a result, a request is submitted for a search warrant to review

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 2 of 62 Document 1

 
 

 

information associated with the aforementioned Facebook User IDs. The information to
be searched is described in the following paragraphs and in Attachment A.

3. I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF) and have been since September 2015. As an ATF Special Agent, I
have participated in numerous investigations regarding the unlawful possession of
firearms by convicted felons. I have also conducted investigations related to the
unlawful use of firearms, firearms trafficking, drug trafficking, and arson.

4. Prior to my employment with ATR, I served as a Police Officer with the
Calumet City, Illinois, Police Department (CCPD) for twelve (12) years. During part of
my career as a CCPD Officer, I was assigned to a regional Gang Task Force Unit. My
responsibilities included the investigations of street gangs, narcotics distribution,
firearms violations, robbery, home invasions, operating in a plain clothes/ covert
capacity, and the authoring and execution of search warrants.

5. Furthermore, Your Affiant knows from training and experience it is
common for drug users, drug dealers, firearms traffickers, and firearms straw
purchasers to communicate via cellular phone through a variety of electronic media. It
also common for firearm traffickers and straw buyers to communicate through cellular
phones and electronic media. Many times drug dealers also act as firearms traffickers
by utilizing the non-prohibited status (no felony convicitons) of drug users to obtain
firearms. In turn, these firearms are used by the drug trafficking organization to protect

and secure their goods and territory. The participants in these organizations can use

Case 2:17-mj-00249-NJ_ Filed 03/20/18 Page 3 of 62 Document 1

 
 

text (SMS) messaging, phone calls, electronic mail, messaging applications, and various
social media applications such as Facebook or Twitter.

6. The facts in this affidavit come from my personal observations, my training
and experience, and information obtained from other investigators and witnesses. This
affidavit is intended to show merely that there is sufficient probable cause for the
requested warrant and does not set forth all of my knowledge about this matter.

Il. ITEMS TO BE SEARCHED

7. The Facebook page belonging to Brian F. Robinson, AKA Brian Bolo
Robinson, herein described as a personal website that is accessed with a username and
password specific only to that page and further described in Attachment A. The
following Facebook Page URL, Facebook Usernames, and associated Facebook

Identifications Numbers:

8. Facebook User ID 688885126, and Facebook Username “Brian Bolo
Robinson”.
9. The applied-for warrant would authorize the search and recovery of

evidence particularly described in Attachment B.
Ill. PROBABLE CAUSE
10. Your Affiant learned of possible violations of 18 U.S.C. 371 (conspiracy to
sell or transfer firearms to prohibited persons), 18 U.S.C. 922(a)(6) (any person in
acquisition of any firearm knowingly furnish a false written or oral statement intended
to deceive the dealer), 18 U.S.C. Section 922(g) (possession of firearm by a prohibited

person, drug user), 18 U.S.C. 922(d)(9) (sale or transfer of firearm to a prohibited

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 4 of 62 Document 1

 
 

 

person), 18 U.S.C. 922(a)(6) (false statement as to material fact to FFL), 21 USC.
841(a)(1) (manufacture, dispense, disperse a controlled substance) after Affiant
reviewed the ATF eTrace database and discovered unusual activity connecting Chicago,
Illinois and Fond du Lac, WI through traced firearms. Affiant knows from information
published by the ATF’s Violent Crime Analysis Branch (as of June 16, 2016) the national
average time for a gun to be recovered in a crime by law enforcement after the original
purchase date is 10.48 years (also known as “time to crime”). Additionally, the average
time to crime of firearms in Illinois is 11.81 years and 8.18 years in WI. Affiant
discovered several people from the Fond Du Lac area who received firearms from
Federal Firearms Licensees (FFLs) in the Eastern District of Wisconsin that were later
‘recovered in crimes in the Chicago area; the time to crime was smaller than the average
time to crime. In particular, firearms purchased by Justin Norton, Michael Ackley,
Corey Donaldson, Michael Warner, Timothy Grossman, Nicholas Devries, Sr., and
Ranette Threets were ultimately recovered by law enforcement in or near the west side
of Chicago.

11. Affiant knows from training and experience that a short time to crime can
be an indicator of firearms trafficking. Furthermore, Affiant also knows from training
and experience that WI is a source state for firearms trafficked to Chicago. It common
for firearms to be purchased at FFLs by “straw buyers” to later be exchanged for
money, illegal drugs, or other goods. A “straw buyer” is terminology used to describe a
subject who purchases a firearm with the intent to provide the firearm to a second

individual who is often prohibited from purchasing or possessing firearms. The

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 5 of 62 Document 1

 
 

 

transaction is usually described as a “straw purchase.” The “straw purchase” is
typically performed to conceal the identity of the true possessor of the firearm.

12. Affiant also discovered that a portion of the traced firearms that I was
investigating linked to firearm recoveries in Chicago and to gang members from the
following gangs: Four Corner Hustlers, Vice Lords, and Gangster Disciples.
Additionally, many of these firearms were recovered in a similar geographic location on
the west side of Chicago where the above gangs are known to operate. Your Affiant
knows that the aforementioned gangs are some of the largest street gangs in Chicago.
Additionally, Affiant knows from training and experience that the Four Corner Hustlers
and Vice Lords are historically allied and are aligned under the People Nation alliance.
Therefore, it is not uncommon for the two gangs to operate in concert.

13. Your Affiant knows from training and experience that geographic
redundancy can be a strong indication of firearms trafficking. To illustrate, when
firearms originate from a concentrated geographic location and are recovered by law
enforcement in a second concentrated geographic location, this can be an indicator of an
organized, illegal firearms trafficking organization. In this instance, Affiant has
identified numerous firearms purchased by residents in the Fond du Lac area that have
been recovered on the west side of Chicago and the near western suburbs.

14. Your Affiant also knows from training and experience that the movement
of the firearms over numerous jurisdictions is a common strategy utilized by criminal
organizations to avoid detection by law enforcement ‘and any subsequent

investigations. Furthermore, the movement of firearms over a vast distance can also be

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 6 of 62 Document 1

 
 

 

indicative of an illegal drug trade route. Affiant knows that drug trafficking
organizations will often capitalize from their expansive connections throughout the
United States to accumulate weapons from a variety of states, that are purchased by a
| variety of subjects, and transport them back to the center of operations. This also aids in .
complicating the efforts of law enforcement.

FIREARMS RELATED TO JUSTIN NORTON

15. During the review of suspicious firearm traces, Affiant and other agents
discovered. that Justin Norton (DOB: 07/15/1988) of Fond du Lac, WI, purchased at
least ten (10) firearms during 2016. These firearms were transferred from FFLs Mills
Fleet Farm located at 629 Rogersville Road, Fond du Lac, WI and Midwestern Shooter’s
Supply located at 191 Church Street, Lomira, WI. Of these firearms purchased by
Norton, the following four (4) were recovered on the west side of Chicago: | |

° Firearm 1: Springfield model XD, 9mm pistol displaying serial number
XD824759 transferred to Norton on 08/25/2016 (herein referred to as Firearm 1)

° | Firearm 2: Smith & Wesson, model SD40VE, .40 caliber pistol displaying
serial number FXT4223 transferred to Norton on 08/16/2016 (herein referred to Firearm
2)

° Firearm 3: Glock, model 23, .40 caliber pistol, displaying serial number
BBTE120, transferred to Norton on 05/14/2016 (herein referred to Firearm 3)

° Firearm 4; a Ruger SR9, 9mm pistol, displaying serial number 335-73237,

transferred to Norton on 09/10/2016 (herein referred to as Firearm 4).

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 7 of 62 Document 1

 
 

 

FIREARM 1

16. On October 17, 2016, Firearm 1 was recovered by the Chicago Police

Department (CPD) at 1524 N. Lawler Avenue, Chicago. CPD recovered the firearm after

a parole officer was provided information that Firearm 1 was located in a garbage can

near the above address.

Norton in WI.

This recovery occurred 50 days after it was purchased by

17. Subsequent to the recovery of Firearm 1, CPD tested Firearm 1 and

entered it into the Integrated Ballistics Identification System (IBIS) to determine if it

could be linked to other criminal incidents. CPD was able to utilize the IBIS testing to

correlate Firearm 1 to the following incidents:

oi

ii.

Incident 1 for Firearm 1 (CPD Report No. H1Z420453): On
September 4, 2016, CPD recovered ten (10) expended, 9mm
Luger casings after responding to a shots fired call that —
resulted in the arrest of Cortaz L. Gibson (black/male/DOB:
10/02/1991 - Four Corner Hustler) at 4906 W. Crystal Street,
Chicago, IL. The above 9mm casings were correlated
through IBIS to Firearm 1.

Incident 2 for Firearm 1 (CPD Report No. HZ465660): On
October 07, 2016, CPD responded to a “Person Shot” call at
5417 W. North Avenue, Chicago, IL. Lexie Pollards (DOB:
10/09/1989 - Mafia Insane Vice Lord) was struck by a bullet

fired from a Lincoln Mark VIII automobile. CPD recovered

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 8 of 62 Document 1

 
 

seven (7) 9mm casings near the scene. These casings were
correlated through IBIS to Firearm 1.
iii. Incident 3 for Firearm 1 (CPD Report No. H1Z474072): On
October 14, 2016, CPD responded to a shots fired call at 1635
N. Austin Avenue, Chicago, IL, and recovered five (5),
expended 9mm rounds. These casings were correlated
through IBIS to Firearm 1.
18. Due to the above correlations through testing, the new time to crime from
the purchase of Firearm 1 in WI until its first documented use in a crime was ten (10)
days. Additionally, all the above incidents occurred within the boundaries of the 25th .
District of CPD on the west side of Chicago.
| FIREARM 2
19. On December 13, 2016, Firearm 2 was recovered by CPD at 1545 S.
Christiana Avenue, Chicago, Illinois in the 10th District. CPD recovered the firearm
during the arrest of Derrick Watkins (DOB: 08/06/ 1989 - Traveling Vice Lord) for
possession of firearm by felon. This recovery occurred on the near, west side of
Chicago.
FIREARM 3
20. On February 22, 2017, CPD recovered Firearm 3 during the arrest of
convicted felon, Jason Spinks (DOB: 06/11/ 1983-Four Corner Hustler), at 3859 W.
Division Street, Chicago while operating a vehicle owned by Jessica Rodriguez. A

- database search revealed that Rodriguez had links to addresses in Chicago and Fond du

Case 2:17-mj-00249-NJ_ Filed 03/20/18 Page 9 of 62 Document 1

 
 

 

Lac. Rodriguez linked to 5233 W. Crystal Avenue, Chicago, which is located in the 25th

District of Chicago on the west side of the city. Rodriguez also linked to 96 E. 2nd

Street, Fond du Lac. This arrest occurred within the boundaries 25th district of CPD on

the west side of Chicago.

21. After Firearm 3 was recovered by CPD, it was submitted for IBIS testing to

determine if there were any correlation to Firearm 3 from previous incidents. IBIS

testing determined the following correlated incidents:

i.

il.

Incident 1 for Firearm 3 (CPD Report No. HZ330036): On
June 30, 2016, CPD responded to a person shot call at 5226
W. LeMoyne Street, Chicago. The victim explained that a
black male with dreadlocks discharged a firearm striking her
in the wrist and forearm. CPD recovered seven (7) spent 40
caliber shell casings correlated to Firearm 3, one (1) spent 9
mm shell casings from a second firearm, and four (4) spent
A0 caliber shell casings from a third firearm.

Incident 2 for Firearm 3 (CPD Report No. HZ501395): On
November 03, 2016, CPD responded to a criminal damage to
vehicle call at 1235 N. Lockwood Avenue, Chicago. Upon
arrival, officers observed that the victim’s vehicle was struck
by gunfire. CPD recovered one (1) spent .40 caliber cartridge
casing correlated to Firearm 3, sixteen (16) expended .40 ©

caliber cartridge casings from a second firearm, and fourteen

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 10 of 62 Document 1

 
 

(14) expended .45 caliber cartridge casings from a 3rd
firearm.

22. Due to the above IBIS correlations, the new time to crime for Firearm 3 is
approximately 47 days from its purchase in WI. The above incidents occurred on the
west side of Chicago.

FIREARM 4
23. On July 3, 2017, CPD arrested a juvenile for aggravated battery with a
firearm (Firearm 4). This incident occurred on a previous date at 5357 W. Division
Street, Chicago, IL. During the arrest the suspect fled from CPD and discarded Firearm
4, The firearm had an obliterated serial number but was able to be interpreted by law
enforcement.
24. After Firearm 4 was recovered by law enforcement it was submitted for
IBIS testing to determine if there were any correlation to Firearm 4 from previous
incidents. IBIS testing determined the following correlated incident:
e Incident for Firearm 4 (CPD Report JA287336): On June 1, 2017,
LM. suffered two (2) gunshot wounds to his/her thigh after
he/she observed the passenger of a black Nissan Maxima exit the
vehicle and fire rounds in his/her direction. The time to crime for
the above firearm was approximately 264 days from this incident.

25. Affiant noted that the above shots fired and persons shot incidents each

occurred within the boundaries of the 25th and 15 Districts of CPD. Additionally, the. .

above firearms were recovered by CPD in the 10th, 11th, and 25th Districts of CPD.

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 11 of 62 Document 1

 

 
 

These districts geographically adjoin in a consecutive fashion and are located on the
Chicago’s west side. These recoveries occurred in a small geographic area of Chicago.
REVIEW OF ATF FORM 4473S FOR NORTON

26. Affiant reviewed Norton’s ATF Form 4473s, which are firearm
transactions records, and discovered several telephone numbers written on the forms.
Affiant knows from experience this is common practice for FFLs to write the telephone
number of the customer on the ATF Form 4473. The following numbers were observed
on Norton’s 4473s forms:

© 920-204-8175
e 920-375-0336
© 920-204-9364
e = 920-333-1938
FIREARM ASSOCIATED WITH CORY W. DONALDSON

27. On. January 12, 2016, Cory W. Donaldson (DOB: 06/03/1990) purchased a
Ruger, model SR9C, 9mm pistol, displaying serial number 336-45829 (herein referred to
as Firearm 5) from FFL Mills Fleet Farm, 629 Rogersville Road, Fond du Lac, WI.

28. On August 4 2016, CPD arrested Vester Ward (DOB: 06/25/1992, Four
Corner Hustler) at 1548 N. Le Claire Avenue, Chicago, after they observed Ward in
possession of Firearm 5. CPD officers recovered Firearm 5 and a placed Ward into
custody for violations of Illinois State Statue 720 ILCS 5.0/24-3.1-A-1, Unlawful
Possession of Handgun. This firearm was recovered in the 25th District of CPD 214

days after it was purchased by Donaldson in WI.

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 12 of 62 Document 1

 
 

29. Subsequent to the arrest, Firearm 5 was submitted for IBIS testing. As a

result, the following incidents were correlated to the Firearm 5 being transferred to

Donaldson:

i.

ii,

iii.

Incident 1 for Firearm 5 (CPD Report No. HZ278908): On
May 25, 2016, CPD responded to 1232 N. Lockwood Avenue,
Chicago for a call of shots fired. Upon arrival, CPD found a
victim who had suffered four (4) gunshot wounds to -the
right leg and groin. On scene, CPD recovered thirteen (13)
expended 9 mm cartridge casing that were correlated via
IBIS to Firearm 5. This makes the new time to crime for
Firearm 5 approximately 81 days.

Incident 2 for Firearm 5 (CPD Report No. HZ322726): On

‘June 25, 2016,.CPD responded to a call of criminal damage to

property at 4934 W. Potomac Avenue, Chicago. Officers
found that a vehicle had sustained damage from gunshots.
On scene, CPD recovered eleven (11) expended 9mm
cartridge casings that correlated via IBIS to Firearm 5.

Incident 3 for Firearm 5 (CPD Report No. HZ353014): On
July 17, 2016, CPD responded to a shots fired call at 5010 Ww
Hirsch Street, Chicago to multiple shots fired. No victims or
suspects were found. On scene, CPD recovered three (3)

expended 9mm cartridge casings correlated via IBIS to

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 13 of 62 Document 1

 

 
 

Firearm 5. Also recovered were two (2) expended .45 caliber
cartridge casings from a second firearm, thirteen (13)
expended 9mm cartridge casings from a third firearm, and ©
twenty-five (25) expended 9mm cartridge casings from a
fourth firearm.

30. Your Affiant reviewed the Firearm 5 recovery and above incidents with
and discovered they all occurred within the 25th District of CPD on the west side of
Chicago.

31. Your Affiant reviewed the ATF Form 4473 for Firearm 5 and discovered
that Donaldson provided a home address of W6824 Blue Heron, Boulevard, Apartment
#2, Fond du Lac, WI.

FIREARMS ASSOCIATED WITH MICHAEL R. ACKLEY

32. During the review of firearm traces, Affiant discovered that Michael R.
Ackley (DOB: 09/08/1986) of Fond du Lac, WI, purchased at least ten (10) firearms
from FFLs Mills Fleet Farm, 629 Rogersville Road, Fond du Lac, WI and Midwestern
Shooter’s Supply, 191 Church Street, Lomira, WI, between 2012 and 2014. Of these
firearms purchased by Ackley, the following five (5) were recovered in or nearby
Chicago.

33. Firearm 6: Ruger, model SR40C, .40 caliber pistol displaying serial number
343-37215, transferred to Ackley on 09/20/2012 from Midwestern Shooters Supply in

Lomira, WI. Recovered by CPD on 05/22/2016 at 4038 W. Wilcox Street, Chicago with a

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 14 of 62 Document 1

 
 

time to crime of 1340 days. Firearm 6 was recovered in the 11th District of CPD on the
west side of Chicago.

34. ‘Firearm 7: Century Arms International, model Centurion 39, 7.62 caliber
pistol displaying serial number 39CTM01891 transferred to Ackely on 02/23/2014 from
Mill’s Fleet Farm in Fond du Lac, WI. Law enforcement recovered Firearm 7 on
04/03/2016 at 311 Hyde Park Avenue, Bellwood, Illinois with at time to crime of 770
days. Firearm 7 was recovered by law enforcement during the arrest of Derrick
Craddock (DOB: 07/29/1988/Gangster Disciple) and Keshane Eli (DOB: 01/06/1995 —
convicted felon) at a residence in Bellwood. During the execution of the search warrant,
the entry team observed Eli reach for Firearm 7. Eli listed a home residence of 851 N.
Latrobe, Chicago. This address is located in the 15th District of CPD on the west side of
Chicago.

35. Firearm 8: Glock Model 23 Generation 4, .40 caliber pistol displaying serial
number UCW267 purchased by ACKLEY on 01/05/2013 from FFL Midwestern
Shooters Supply in Lomira, WI. Recovered by ATF on 08/15/2014 at 114 S. 17 Avenue,
Maywood, Illinois, with a time to crime of 587 days. Firearm 8 was recovered in
Maywood during an ATF during a law enforcement controlled buy from James Bryant
(DOB: 05/04/1989 — convicted felon). Maywood is a nearby western suburb where
street gangs from the west side of Chicago are known to exist and operate. During the
operation, James was described by the confidential informant (CI) as a subject who sold

firearms in and around the west side of Chicago.

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 15 of 62 Document 1

 
 

 

36. Firearm 9: Glock Model 23, .40 caliber pistol displaying serial number
RDL530 purchased by Ackley on 09/20/2012 from FFL Midwestern Shooters Supply in
Lomira, WI. Firearm 9 was recovered by law enforcement on 11/27/2012 at 1150 W.
Roosevelt Road, Broadview, Illinois, with a time to crime of 68 days. Firearm 9 was
recovered in Broadview, which is a western suburb near the west side of Chicago.

37. Firearm 10: Masterpiece Arms, model MPA30T-A, 9mm pistol displaying
serial number F13453 transferred to Ackley on 03/25/2012, from Midwestern Shooter’s
Supply in Lomira, WI. CPD recovered Firearm 10 on 10/09/2012 at 2946 W. Walnut
Avenue, Chicago with a 165 day time to crime. Firearm 10 was recovered in the 13th
District of CPD during the arrest of convicted felon Kevin McCollum (DOB:
12/31/1976). The 13th district is located on Chicago’s near west side.

FIREARM ASSOCIATED WITH MICHAEL WARNER

38. On September 17, 2012, Michael Warner (DOB: 05/11/1964) purchased a
Ruger, model SR40, .40 caliber pistol, displaying serial number 342-29385 (herein
referred to as Firearm 11) from FFL Bill’s Sporting Goods located at 724 Main Street,
Lomira, WI.

39. | On April 4, 2017, Firearm 11 was recovered by CPD from a vehicle at 10
N. Pulaski Road, Chicago during the arrest of Walter Bacon (DOB: 02/08/1993 —
convicted felon - Traveling Vice Lord). This arrest occurred in the 11th District of CPD,

which is located on the west side of Chicago, IL.

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 16 of 62 Document 1

 
 

FIREARMS ASSOCIATED WITH NICHOLAS DEVRIES, SR.

AO. On June 25, 2015, Nicholas Devries, Sr. (DOB: 07/10/1993) purchased a

Taurus model PT845, .45 caliber pistol displaying serial number NIP14669 (herein

referred to as Firearm 12) from FFL Tuffy’s Outpost, 371 N. Main Street, Fond du Lac.

41. On April 4, 2016, CPD recovered Firearm 12 on at 1242 N. Spaulding

Avenue, Chicago during the arrest of Tyshawn Terry. The time to crime was 314 days
after purchase in WI. The location of recovery for the Firearm 12 occurred in the 15%
District of CPD on the west side of Chicago.

FIREARM ASSOCIATED WITH TIMOTHY J. GROSSMAN

42. On April 5, 2012, Timothy Grossman (DOB: 04/02/1991) purchased a

Springfield, model XD40, .40 caliber pistol displaying serial number 5D503904 (herein
referred to as Firearm 13) from FFL Mills Fleet Farm in Fond du Lac, WI. |

43. ‘On May 08, 2016, CPD recovered Firearm 13 at 130 N. Kostner Avenue,
Chicago, IL with a time to crime of 1494 days. The location of recovery by CPD
occurred in the 11th District of CPD on the west side of Chicago.

FIREARM ASSOCIATED WITH RANETTE THREETS

4A. On December 6, 2012, a Smith & Wesson, model SD40VE, .40 caliber pistol
displaying serial number HEB6729 (Firearm 14) was purchased by Ranette Threets at
FFL Mills Fleet Farm in Fond Du Lac, WI. |

45, Continuing on July 18, 2017, CPD recovered Firearm 14 at 913 N.
Lawndale Avenue, Chicago, IL, during the arrest of Jawaun Stamps. Stamps was listed

as a Traveling Vice Lord Gang Member. The firearm was recovered with a time to

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 17 of 62 Document 1

 

 
 

crime of 1,685 days. The location of the arrest was in the 10th District of CPD on the
west side of Chicago. |
SHAKIE DAVIS’ CELLPHONES
46. ATE Special Agents contacted the Fond du Lac Police Department
(FDLPD) to inform them about potential straw purchasers in their jurisdiction. During
this. correspondence, ATF learned about the arrest of Shakie L. Davis for felony drug
trafficking. FDLPD Officer Vance Henning informed ATF Special Agent Matthew ~
Mason that subseqtient to the arrest of Davis on April 12, 2017, FDLPD obtained a state
search warrant to search the contents of Davis’ cellphones, which were obtained by
local law enforcement during Davis’ arrest. The cellphones were recovered from Davis’
person during his arrest. Officer Henning further informed ATF that he observed the
telephone number 920-204-8175 in each of the Davis’ cellphones. This is the same phone
number listed on one of Norton’s ATF Form 4473 during a firearms transfer.
Additionally, Officer Henning relayed that he observed 920-204-9364 in each of Davis’
cellphones. This is the known telephone number for Amber L. Schuster (DOB:
08/23/1987) who is known as Norton’s former girlfriend. This telephone number was
also listed on one of Norton’s ATF Form 4473s.

47. Officer Henning explained to ATF Special Agent Mason that he observed

a text message in one of Davis’ cellphones from telephone number 414-839-8295 (herein.
referred to as Subject 1) to Davis’ cellphone and to Justin Norton’s cellphone number
920-375-0336. Davis’ cellphone sends a photograph via text message to Subject 1 of a

firearm that appears consistent with a Masterpiece Arms, model Defender, 5.7x28mm

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 18 of 62 Document 1

 
 

 

pistol. The Masterpiece Arms model Defender, 5.7x28mm pistol is a similar design to
the Masterpiece Arms, model MPA3OT-A, omm pistol displaying serial number F13453
transferred to Ackley on 03/25/2012, that was recovered by CPD on the west side of
Chicago approximately 165 days after it was purchased by Ackley in WI.

48. Officer Henning also explained to ATF Special Agent Mason that he
observed another text message conversation between Davis and Subject 1. On
September 18, 2016, Subject 1 sends a text message to Davis’ cellphone stating, “Do you
have time.” Davis cellphone text replies, “what store.” Subject 1 responds “Fleet Farm.”
Davis’ cellphone text indicated to Subject 1 that he would travel to Fleet Farm.

49, Affiant knows that Fleet Farm is likely in reference to FEL Mills Fleet Farm
located at 629. Rogersville Road, Fond du Lac. A significant portion. of the
aforementioned firearms in this affidavit were purchased at this Mills Fleet Farm before
the recoveries in or near Chicago.

50. ATF Special Agents observed 920-204-8175 in each of the Shakie Davis’
cellular phones. This is the same phone number listed on the ATF Form 4473 during a
firearms transfer to Justin Norton. Additionally, agents observed 920-204-9364 in each
of Davis’ cellular phones. This is the known telephone number of Amber L. Schuster
(DOB: 08/23/1987) who is known as a former girlfriend of Norton. This phone number
was also listed on the ATF Form 4473s on firearm transfers to Norton.

51, The telephone number 414-839-8295 “GB” provided two contacts to Davis.
One contact was for Justin Norton (original purchaser for the aforementioned firearms

traces) utilizing telephone number 920-375-0336. Davis sends a photograph via text

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 19 of 62 Document 1

 
 

 

 

message to Subject 1 of a firearm that appears consistent with a Masterpiece Arms,
model Defender, 5.7x28mm. pistol. The Masterpiece Arms model Defender, 5.7x28mm.
pistol is a similar design to the Masterpiece Arms, model MPA30T-A, 9mm pistol
displaying serial number F13453 transferred to Ackley on 03/25/2012, that was
recovered by CPD on the west side of Chicago approximately 165 days after it was
purchased by Ackley in Wisconsin.
52.  Affiant observed a text message conversation between Davis and 414-839-
8295 saved in Davis’ phone as “GB”. “GB” sends a text message to Davis stating,
“Nigga its 1052 u got time”. Davis replies, “what store” and “GB” responded “Fleet
Farm”. Davis replied, “Tight Finna buy my ticket den go up dere”.
53. Affiant observed a text conversation on December on July 31, 2016,
between “GB” 414-839-8295 and Davis that stated the following:
e DAVIS: Yup n I got 250 to a pipe
e “GB”: Ok we go 2day
° “GB” : Yep
54. Affiant knows from training and experience that “pipe” can be
street terminology for a firearm. |
55.  Affiant observed text messages between Davis and 920-204-8175 (a known
number for Justin Norton) from December 5, 2016. Davis texted Norton, “Wen can I go
_ to fleet farm for me”. Then Davis texted “U” in an effort to correct “I” to “U”.
56. Your affiant knows that 708-495-0261 was also saved in Davis’ phone as

“GB” and is a telephone number known to FDLPD as belonging to Jonathan Griffin.

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 20 of 62 Document 1

 

 
 

Affiant believes that “GB” (414-839-8295) is Jonathan Griffin, It appeared that Davis
began contacting Griffin on 708-495-0261 on November 12, 2016. Your Affiant knows
from training and experience that is common for illegal drug and firearm traffickers to
change their phone numbers on a regular basis.

57. FDLPD advised agents that during their investigation they also determined
920-579-6455 was a telephone number used by Jonathan Griffin. Your Affiant observed
a text message conversation between Davis and Griffin on February 6, 2017 that stated
the following:

e GRIFFIN: I got a mfer wanna trade a glock 21 fa my Shit
e btion want it u can trade yo shit if u want to
e GRIFFIN: Take yo stick n yo beam off yo shit

58. Your affiant knows that a Glock 21 is a model of firearm. Additionally, a
“stick” is street terminology for a magazine and a “beam” is terminology for a laser
sight optic used for targeting a firearm.

59. In addition, Affiant knows that Fleet Farm is likely in reference to FFL
Mills Fleet Farm located at 629 Rogersville Road, Fond Du Lac, WI, 54935. A significant
portion of the aforementioned firearms in this affidavit were purchased at this Mills
Fleet Farm before their recovery in or near Chicago, Illinois.

60. Affiant reviewed the criminal history of Shakie L. Davis and discovered he
was a convicted felon for violations of illinois State Statutes 720 ILCS 570/402-C,
Possession of Controlled Substance (Case No. 2012CR059950 - guilty verdict on

04/10/2012).

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 21 of 62 Document 1

 
 

 

61. Additionally, the criminal history of Shakie L. Davis listed an address as of
February 13, 2017, as 3324 W. Le Moyne Street, Chicago, IL. This residence is located
within the 14th District of CPD, which is also on the west side of Chicago.

FACEBOOK EVIDENCE FOR JONATHAN GRIFFIN

62. On June 8, 2017, the Honorable United States Magistrate Judge David E.
Jones signed Federal search warrants to review the forensic reports generated by
FDLPD for the following cellphones: a black IPhone, Model: A1661, FCC ID: BCG- —
E3Q87A, IC: 579C-E3087A, associated with Fond Du Lac Police Department (FDLPD)
Inventory No. 22 and a blue Verizon Samsung flip phone, Model: SM-B311V, SKU:
SMB311VZPP, FCC ID: A3LSMB311V, MEID HEX: A00000475A 0080, associated with
FDLPD Inventory No. 22. These are the two cellphones are believed to belong to Shakie
Davis. | | |

63. A review of the cellphone forensics showed that Shakie Davis’ cellphones
were used to communicate via Facebook Messenger and the cellphones also received
telephone calls from subjects utilizing Facebook to complete these calls.

64.  Affiant know that Facebook can be used to complete telephone calls, video
chats.

65. Among the callers, Affiant observed Facebook telephone calls from This
Facebook User ID number is consistent with the known Facebook page of Jonathan
Griffin. Griffin is believed to be the “owner” of this Facebook page.

66. Affiant also observed a Facebook Messenger contact saved in one of

Davis’ cellphones as “moneykid jonathan” with Facebook User ID 100000831110613.

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 22 of 62 Document 1

 
 

 

This Facebook User ID number is also consistent with the information associated with
the known Facebook page of Jonathan Griffin.

67. Your Affiant reviewed the Facebook Profile listing username, “moneykid
jonathan” Facebook User ID Number — 100000831110613 and URL
https: / / www.facebook.com/crucial.gangbang. Affiant found images on this Facebook
page to be consistent with the appearance of Jonathan Griffin. Griffin appears to be the
“owner” of this Facebook page.

68.  Affiant reviewed the publicly viewable Facebook Page “Moneykid Ttgang
- Griffin”, Facebook ID 100011134543692. The following Facebook posts were observed:
7/24/2016
a photograph of Jonathan Griffin was posted of him holding an object consistent with a revolver
firearm. “Moneykidd Tigang Griffin” added the caption, “Ion trust alot niggas so 1 keep one of
my bitchs with me M#GV GS Ok HOW,

7/29/2016
a photograph of a UPS truck and UPS delivery man was posted to the profile. “Moneykid
Ttgang Griffin” added the caption, “Fuck ur mop stick bitch @© my drum roll jus came hoe ds

69. Your Affiant knows from training and experience that a “mop stick” can
be street slang for an extended magazine. Affiant also knows that a drum roll is street
slang for a drum magazine for a firearm that holds more rounds than an extended
magazine.

70.  Affiant reviewed the publicly viewable Facebook Page “Moneykid Ttgang
Griffin”, Facebook ID 100011134543692. The following Facebook post was observed:
7/31/2016

“Moneykid Ttgang Griffin” Posted a photograph of Jonathan Griffin holding a stack of cash with
the caption, “Ready 2 fuck up da game "290herionhighway” Ready SEK”,

Case 2:17-mj-00249-NJ. Filed 03/20/18 Page 23 of 62 Document 1 .

 
 

 

71.  Affiant knows from training and experience that 290 is a reference to
Interstate 290 that runs from downtown Chicago to Interstate 294. The area covered by
this interstate includes the Chicagoland locations (including Maywood, IL, and
Bellwood, IL) where firearms from Fond Du Lac, WI, were recovered by law
enforcement. Additionally, this also covers the area were the “L Block” Vice Lords are
known to operate.

72. Based on the Facebook User names and content on the pages, Affiant
believes that both “moneykid jonathan” Facebook User ID Number 100000831110613
and Moneykid Ttgang Griffin”, Facebook ID 100011134543692 are Facebook pages that
are used by Jonathan Griffin.

73. Your Affiant reviewed the Facebook search warrant results of Profile ID
100011134543692, User ID: Moneykid = Ttgang Griffin, URL:
https: / /www facebook.com/ profile.php?id=100011134543692, and known to be the
profile of Johnathan Griffin. The communications were received pursuant to a Federal
search warrant signed by United States Magistrate Judge Nancy Joseph on August 10,
2017.

74. In this Facebook account, Affiant saw numerous conversations consistent
with illegal drug sales and firearms trafficking were observed between Griffin and
numerous Facebook profiles. Griffin and conversation participants commonly
addressed one another as “Lord”, which is a common greeting used among Vice Lord

street gang members. Griffin also participated in conversations with subjects who were

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 24 of 62 Document 1

 
 

 

arrested in Chicago, Illinois, with firearms that were purchased in the Fond Du Lac, WI,
area.

75. Griffin communicated with Facebook Username “Gee Spinks” — Facebook
ID No. 100002097832497. Some of the communications were regarding the trade of
firearms. This is the known Facebook page of Jason Spinks who was arrested with a
firearm purchased by Justin Norton in the Fond Du Lac, WI, area (see paragraph 21).

76. Griffin communicated Facebook Username: “Vester Montrell Ward’-
Facebook ID No. 100009053514033. This is the known Facebook page of Vester Montrell
Ward who was arrested with a firearm purchased by Cory W. Donaldson in Fond Du
Lac, WI.

FACEBOOK EVIDENCE FOR DAMIEN POWELL

77. Also during the review of records associated with the Facebook records of
Profile ID 100011134543692, User ID: ‘Moneykid Ttgang Griffin, URL:
https:// www_.facebook.com / profile php?id=100011134543692, Affiant observed
conversations between “Damo Cash”, URL: https:// www acebook.com/ damo.cash.7,
Facebook ID No. 100000963750382. Affiant was able to identify “Damo Cash” as
| _ Damien Powell (DOB: 11/07/1986) by comparing FDLPD photographs of Powell with
the Facebook photographs of “Damo Cash.” Griffin and Powell had numerous
communications regarding firearms and illegal drugs. Powell and Griffin also
referenced the Fond Du Lac, WLI, area in their conversations. Powell is prohibited from
owning firearms for the following prohibitive convictions: Aggravated Robbery (felony

-convicted 10/02/2007, Chicago, IL), Bail Jumping (felony - convicted 05/09/2014,

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 25 of 62 Document 1

 

 

 
 

 

Kenosha County, WI, Manufacture/Deliver THC within 1000 Feet of a School
(convicted — felony, 08/21/2014, Fond Du Lac, WI). The following is a summarization
of communications between Griffin and Powell on Facebook:

10/14/2016

Griffin: Bring da 22

Damien Powell: B e z get off at 6

Damien Powell: I got the 22 on my I’m in Chicago Already

78.  Affiant knows from training and experience that a “22” can be slang for
.22 caliber firearm.

10/25/2016

Griffin: Wat up

Damien Powell: I need u do get that from the store
Griffin: light im go have Shakey take care of it

79.  Affiant knows that “Shakey” may be referring to SHAKIE DAVIS (DOB:
DOB: 11/15/1994) who is a known associate of Griffin and arrested by the Fond Du Lac
Police Department (FDLPD) in 2017. Additionally, Affiant knows from this
investigation that “store” has been used to reference Federal Firearms Licensees (FFLs)
in the Fond Du Lac, WI, area.

11/07/2016
Damien Powell: I got somebody who want the 7 but they out here

Griffin: Ok I call shorty now n see where he at n u can go grab it from da hood tonight
or 2ma morning
Damien Powell: I’m gone I’m back up top
Damien Powell: Damn
Damien Powell: He got 350 for it
Griffin: He still can get it im not out der
Damien Powell: Aw shit ok bet
Damien Powell: We need to get rid of the MFER ASAP
Damien Powell: That’s money for a 40
Damien Powell: 50 more dollars

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 26 of 62 Document 1

 

 
 

Griffin: 2 big for mfs n not enough shots

Griffin: Who smoking

Damien Powell: Kenzie n Harrison

Griffin: Wtf u talkin bout

Griffin: Hello

Damien Powell: Fse

Damien Powell: Try to bring the 7 back he want it for sure
Griffin: Nigga how im go do sum ni told u im n fdl mf im goin out der this week for
our funeral

‘Damien Powell: Aw shit bitch lmao

Damien Powell: Link wit me tho

Damien Powell: Get me high bro

Griffin: Nigga dats y said who got smoke

80.  Affiant knows that “7” can refer to a Taurus model PT 24/7 firearm and a
“40” can refer to a AO caliber firearm. Additionally, “fdl” is commonly used in
reference to Fond Du Lac, WI.

11/11/2016

Damien Powell: Yooooo

Damien Powell: Link bro

Griffin: Getting rdy

Damien Powell: Slide on me I got dope

81. Affiant knows from training and experience that dope can be slang for a
vast variety of illegal drugs or specifically heroin.

11/12/2016
‘Damien Powell: I jusleft fleet farm
Damien Powell: Yoooo link asap
Damien Powell: I got them poles I was talmbouot
Griffin: Yoo
Damien Powell: Wats yo number
Damien Powell makes a phone call
Damien Powell: Call me nigga

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 27 of 62 Document 1

 
 

 

82.  Affiant knows from this investigation that FFL Fleet Farm in Fond Du Lac,
WI, is a common location where firearms that have been recovered in and around the
west side of Chicago were purchased. Affiant also knows from training, experience,
and this investigation that “poles” is slang for firearms. “Link” is slang for a request to
meet with a subject.

11/19/2016

Damien Powell: Grabb the 7 while out there I need it or dude got buy
sum else |

Damien. Powell: ?????

Damien. Powell: U too busy to responde

Damien Powell: Let me know sum

Griffin: Yeah mf my ppl got killed tf

Damien Powell: Smh.

Damien Powell: I feel u bro but we still got business yo word is yo bond
Damien Powell: U get me out yo way n u aint gotta worry aboug it

Griffin: All dats cool im n dis field fr. N des my shorties

Damien Powell: Aiight bro sorry for yo lost but dobt forget i gave u 2 pipes a month ago
nu have did yo side of the deal not rushing u but i cant be waiting for months
Damien Powell: [barely can get in touch wit u

83.  Affiant knows from training and experience that “7” can be a slang term
for a Taurus, model PT 24/7 pistol.

11/21/2016

Damien Powell: [need that gun mfer just jumped me
Griffin: Wya shorty

Damien Powell: Traffic

Damien Powell: My shit fuked

Griffin: Where da fuck u at

Damien Powell: On main

Damien Powell: Oakwood

Griffin: Ok im highway u can use my pipe i get out der and we'can go 2
store 2ma jus me da 90 dollars

Damien Powell: Ok

Damien Powell: Thanks bro

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 28 of 62 Document 1

 
 

Damien Powell: The did ne dirty

Damien Powell: Mfer hit me wit sum in my face
Griffin: (unknown emoji) I got un when i get bac we finna slide I got big
bro nem dey out here til wed

Damien Powell: Bet

Griffin: I hope it wasnt buffy

Damien Powell: Nope he got beat tf up it was breon
Griffin: Hold on wtf is dat

Damien Powell: His bm

Damien Powell makes phone call to Griffin

Griffin: Im goin 2 my crib bro

Griffin: B der bout 20 mins

Damien Powell: Ok

Damien Powell makes phone call to Griffin

12/02/2017

Damien Powell: Wat up wit this situation wit these pipes bro??? Tell me
sum bro it’s been a while!!!

Damien Powell: If u want to keep it jus cash me out

Damien Powell: Lmk sum!!! Mfers went from smoking everyday n linking
everyday but now that u got them bogus ass pipes from me u don’t
_ answer yo phone or inbox!!! I hope mfers don’t have to fall out over these
bogus slammers

Damien Powell: Jus give me 300 n we even but I need my pipe or my
bread asap

_ Damien Powell: Wya

12/17/2016

Damien Powell: U good

Griffin: Yeah teflon wanna talk 2 u (unknown emoji) he said call him asap
Damien Powell: Wyo tho

Damien Powell: Shit cooln

Griffin: Slide on me n da a.m

Damien Powell: Ok I just talked to him

Damien Powell: I got u

12/18/2016

Damien Powell: Who smoking
Griffin: Bettis from what I no now
Damien Powell: (unknown emoji)

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 29 of 62 Document 1

 

 
 

 

Griffin: (unknown emoji)
Damien Powell: Wyo
Damien Powell sent audio message to Griffin

84.  Affiant knows from training and experience that “slammers” is slang for
firearms and “bread” is slang for money.

85. Your Atffiant knows from this investigation that “Bettis” is likely referring
to a known associate named Brandon Bettis.

12/25/2016

Griffin: Wya

Damien Powell: Crib

Griffin: Imo mw bac 2 town now

Damien Powell: I need u too see if this 40 can take a 30

Griffin: Ok jus send me pic or da name

Damien Powell: Ok
Damien Powell sent a photograph consistent with a subject
holding a pistol. The appearance of the subject in the background
is consistent with the appearance of POWELL. A second image is |
sent that is consistent with that of a pistol.

Damien Powell: Could it

Griffin: Yeq

12/26/2016

Griffin: Wyo

Damien Powell: In da city store move
Damien Powell: I got hoopers for the low
Griffin: When.

Damien Powell: Tomorrow

Griffin: Bet htl

86. Affiant knows from training and experience that “htl” is short hand slang
for “hit the line”. It is commonly used to tell someone to call on the telephone. Affiant

believes “hooper” is referring to a firearm or firearm accessory in this instance.

‘Case 2:17-mj-00249-NJ Filed 03/20/18 Page 30 of 62 Document 1

 
 

12/27/2016

Damien Powell: Yoooo

Damien Powell: U goodie my boa

Griffin: Yoooo

Damien Powell: Wyo

Damien Powell: U know where the loud at

87. Affiant knows from training and experience that “loud” is street slang for
marijuana.

02/02/2016

Damien Powell sent two (2) photographs from IP address 66.87.77.114
(according to http:/fwww.infosniper.net/ the IP address is located in Chicago, IL)
of an image consistent with a firearm with an extended magazine and hollow
point and ball ammunition.

Griffin: Hell yeah that bitch nasty

Damien Powell: ON short

Griffin: Get DAT u b stupid not too

Damien Powell: I gotta get there first

Griffin: Tell him to hold it - till the snow gone

Damien Powell: I doubt it

Griffin: U finna drive down der

Damien Powell: Idk ima try n get a ride

Griffin: Ask a p

88.  Affiant knows from this investigation that “P” is slang for subjects who

purchase illegal drugs from this organization.

03/06/2016

Damien Powell: Inbox yo number
Griffin calls Damien Powell

“Damo Cash call Griffin

Damien Powell: Wats d nice num
Griffin: 7739699064

Damien Powell calls Griffin

03/07/2016
Damien Powell: Wats yo number
Griffin: 4148398295

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 31-of 62 Document 1

 

 
 

03/14/2016

Damien Powell: Yoooo

Griffin: Slide on me

Damien Powell: Ok when you think u gone be ready cuz it’s sto time
Griffin: Real soon

Griffin: Im go need two jus put it to the side

Damien Powell: When

Damien Powell: U gone need em

Griffin: Htl

89.  Affiant believes that “sto” is a misspelling of “store”. As previously

mentioned, “store” has been used to refer to FFLs in the Fond Du Lac, WI, area. °

03/21/2016
Damien Powell: I got them baskets for u
Griffin: Good looking bro

06/19/2016

Griffin: Call me

Damien Powell: 17736198369

Damien Powell calls Griffin and sent an audio clip.

Damien Powell: 17736198369 call me I left my phone in da car

07/21/2016

Damien Powell sent a picture to Griffin of a performance on July 26, 2016, by
Damien Powell.

Griffin: Where at

Damien Powell: City Tuesday u can ride wit me

Damien Powell: We coming back Wednesday

Griffin: Yae

Damien Powell: Love broski

Griffin: (unknown emoji)

07/31/2016

Damien Powell calls Griffin

Damien Powell: Hml bro 17736198369

Damien Powellcalls Griffin

Damien Powell: They need more then that Lord
Damien Powellcalls Griffin

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 32 of 62 Document 1

 
 

 

10/04/2016

Damien Powell: Yoooooo

Griffin: Yoo

Damien Powell: He still ain’t get the 7 yet
_Griffin: Its at meech house

Damien Powell: Can u still get one for me

Griffin: Yea

Damien Powell: Link tomorrow

Griffin: Yea

Damien Powell: Or when u free

Griffin: We can 2ma

10/07/2016

Griffin: Got dem(unknown emoji)s

Griffin sent a link with a “status update” to Damien Powell from IP Address
68.177.7.145 (according to http://fwww.infosniper.net this IP Address is located
in Fond Du Lac, WI).

Damien Powell: Hml hoe

Griffin calls Damien Powell

Griffin: Damo call asap bro

01/03/2017

Griffin: Wya

Damien Powell: Cindy

Damien Powell: Fondy u goodie

90.  Affiant knows from this investigation that “Fondy” is an abbreviated term
for Fond Du Lac, WI, and “Wya” is short hand for “where you at”.

01/04/2017

Griffin: Wyo my boa

Damien Powell: Match

Griffin: Buying ammo

Damien Powell: I need a 30

Damien Powell: 40 smith n western sd
Griffin: Ok

Damien Powell: I got licks on em too
Griffin: Yoo

Damien Powell: Wya

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 33 of 62 Document 1

 
 

 

_ Griffin: Soft kit on deck

91. Your Affiant knows from this investigation that a “30” can be referring to
a 30 round magazine for a pistol. “Soft” can be street slang for powdered cocaine.

01/29/2017
Damien Powell: Yoooo
Griffin: Soft kit around
Damien Powell: Yesss sirrr n deal for u 175
Damien Powell: Chunk
Griffin: Bet I got p on da wat from da A right now for one
Damien Powell: Trey 5
_ Griffin: Way

Damien Powell: Wya

Griffin: Shakey slot cum smoke sum
Damien Powell: Ok

92.  Affiant knows that “Shakey” may be referring to SHAKTE DAVIS (DOB:
DOB: 11/15/1994) who is a known associate of Griffin and arrested by the Fond Du Lac
Police Department (FDLPD) in 2017.

03/10/2017

Damien Powell: Wya lord

Griffin: Shit finna pop out

Damien Powell: U in da city

Griffin: Hell nawl im not comin out til I get finish dis lick
Damien Powell: Aw okok

Griffin: Wyo out there

Damien Powell: Store

Damien Powell: N turning up fse

93.  Affiant knows from training and experience that “lord” is a common term
used by Vice Lords to address other Vice Lord gang members. Affiant also knows from

training and experience that a “lick” can be slang for a criminal act. “Wyo” is shorthand

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 34 of 62 Document 1

 
 

 

for what you on. Affiant knows from this investigation that “store” has been referenced
as a trip to Federal Firearms Licensees (FFLs).in the Fond Du Lac, WI, area.

03/17/2017

Damien Powell: Ineed dope

Griffin: OK bet I got sum

Damien Powell: Where you want me to go

06/15-16/2017

Griffin: Poles 4 sell

Damien Powell: How much

Griffin: Glocks for 7 Draco with drum for 1800 380 rugers with stick
Damien Powell: Too much

Damien Powell I got plugs too on pipes

Griffin: How much

Damien Powell: Rugers Springfields sd’s bout $350

Griffin: Damn

Griffin sent photograph of three suspected firearms from IP Address 66.87.76.88
(according to http://www.infosniper.net this IP Address location is Franklin
Park, IL).

94..  Affiant knows from training, experience, and this investigation that a
“stick” is slang for an extended magazine and “plugs” is slang for a source or
connection. Affiant also knows that “Rugers” and “Springfields” are types of firearms

manufacturers.

06/25/2017

Griffin sent photograph of a subject holding a suspected firearm

Damien Powell sent a photograph of a subject holding to suspected pistols. The
appearance of the subject holding the pistols appears consistent with POWELL.
Griffin: Nice

~ Damien Powell sent unknown emoji

Griffin: Wat u tryin 2 do

Damien Powell: That’s for sell

Griffin: Yea

Damien Powell: How much

Griffin: 540

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 35 of 62 Document 1

 

 
 

Damien Powell: Im good

06/30/2017

Griffin sent photograph of a subject holding a suspected firearm
Damien Powell: How much

Damien Powell sent thumbs up image

FACEBOOK EVIDENCE FOR SHAKIE DAVIS

95. Also during the review of records associated with the Facebook records of
Profile ID  100011134543692, User ID: Moneykid Ttgang Griffin, URL:
https: / / www.facebook.com/profile.php?id=100011134543692,  Affiant | observed
conversations _ between “Shakey Davis” URL:
https: / /www.facebook.com/shakey.davis, Facebook ID No. 100000130434744. Affiant
was able to identify. “Shakey Davis” as Shakie L. Davis (DOB: 11/15/1994) by
comparing FDLPD photographs of Davis with the Facebook photographs of “Shakey
Davis.” Griffin and Davis had numerous communications regarding firearms and
illegal drugs. Davis is prohibited from owning firearms for.the following prohibitive
convictions: Possession Controlled Substance, Illinois State Statute 720 ILCS 570.0/402-
C IL (Convicted: 04/10/2012), Aggravated Battery (Peace Officer), Illinois State Statute
720 ILCS 5.0/12-3.05-D-4 IL (Convicted: 3/24/2015), Possess w/ Intent-Heroin(>10-50g),
a class D felony, Wisconsin Statutes 961.41(1m)(d)3 (Convicted: 10/11/2017).

96. The following is a summarization of communications between Griffin
and Davis on Facebook:

10/22/2016

GRIFFIN: Bring sum lean bac
DAVIS: Who got it

GRIFFIN: Ion know

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 36 of 62 Document 1

 
 

 

DAVIS: Chrisett bd be having it
GRIFFIN: Dude dats fu shit

97. Affiant knows from training and experience that a “lean” is street
terminology for the prescription drug, codeine promethazine. Additionally,
“Chrisett” is believed to be a reference to Fond Du Lac, WI, resident Chrisette

Nordmeier.

11/12/2016 |
DAVIS: I'm in the funeral it was a link saying that the Feds teaming up wit the
police weekend n running in cribs in that they already got some assault riffles
out of mfer cribs earlier dis week n dis morning wen I

was buying some weed from one of my homies on hoodrich n he

told me dey ran in onna dat cribs today |

GRIFFIN: As I seen that I already know

98. Affiant knows that “weed” is slang for marijuana.

11/30/2016

DAVIS: U up bitch let's get high

GRIFFIN: Come on im already smokin on TT
DAVIS: bet

12/09/2016
DAVIS: ©© GOT THE PACK ON THE PULL UP

99.  Affiant knows that “pack” can be street slang for a quantity of illegal
drugs used as a source for distribution to illegal drug customers. It can be referring to
cocaine or heroin.

01/10/2017

DAVIS sent a photograph to GRIFFIN of an object consistent with a semi-automatic
pistol

DAVIS sent a photograph consistent with a Ruger .22 caliber pistol

Case 2:17-mj-00249-NJ_ Filed.03/20/18 Page 37 of 62 Document 1

 
 

 

01/11/2017
GRIFFIN sent a photograph of an object consistent with a semi-automatic pistol, a loaded
magazine, and a box of ammunition with a “Winchester” label.

01/17/2017
GRIFFIN makes a wall post that stated, “We ain't tripping bout no money @shakey
@Greezy @Hell Rell @* 49 and damn show ain't pocket 66 da next nigga pockets &O

it's T.T.G & fey’
GRIFFIN and DAVIS respond to the vost as follows:
DAVIS: AYEEAOOQ000000 TALK DAT SHIT SHORTY

GRIFFIN: N I forgot we got alot of guns GOOGG
DAVIS: © N CAN BUY MORE 1222100100100
GRIFFIN; 100100100

100. Affiant knows that “T.T.G.” is reference to T.T. Gang to which Davis and
Griffin claim membership. Additionally, this post occurred in a group chat format
where other known members of the gang commented. Affiant believes the above post
served as an advertisement to the gang members in Chicago that Davis and Griffin

were able still able to firearms.

04/03/2017

GRIFFIN sent a photograph of three (3) objects consistent with the appearance of semi-
automatic pistols, a loaded magazine, and numerous rounds of ammunition on a bed.
DAVIS: G91 G90 Gel

GRIFFIN makes outgoing call to DAVIS, .
GRIFFIN sent screen shot from text conversation with a contact saved as “Bk” that reads
as follows: “Slide back thru” and “Yo bro just give me 600

DAVIS: Who that .

DAVIS: Maniac

GRIFFIN: ~— a

DAVIS: @

DAVIS: Tim! out gi give him 600

GRIFFIN:

DAVIS: That shit tax free @@I

GRIFFIN: My mans kno he dont want no smoke

GRIFFIN sent a photograph with an object consistent with a semi-automatic pistol in an
unknown black subject’s hand.

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 38 of 62 Document 1

 
 

101. Affiant knows believes the above conversation is regarding the price of
the firearms displayed in the picture provided by Griffin to Davis. Additionally, Affiant
knows that “smoke” can be street slang for an act of violence by a firearm.

THE ARREST & CONVICTION OF SHAKIE L. DAVIES

102. Onor about 04/12/2017, Fond Du Lac, WI, Police Department (FDLPD)
arrested DAVIS for violations related to illegal heroin trafficking. Davis was
subsequently convicted in Fond Du Lac County for Possess with Intent-Heroin (>10-
50g), a class D felony, Wisconsin Statutes 961.41(1m)(d)3 (Convicted: 10/11/2017).
Griffin is a codefendant in this case.

103. The above examples of conversations, reports, and interviews have led
Your Affiant to believe that Shakie Davis was involved in the illegal obtainment and
distribution of firearms and illegal drugs.

THE ARREST OF JONATHAN GRIFFIN

104. On August 24, 2017, the Great Lakes Fugitive Task Force (GLFTF) of the
United States Marshal’s Service (USMS) located Griffin in the area of 1125 E. 90th Street,
Chicago, IL. Griffin used a black, Dodge Durango to strike a USMS team member’s
vehicle in an effort to escape. During the removal of Griffin from the Dodge Durango,
USMS team members observed a firearm in his right side waistband. As the USMS was
removing Griffin from the window of his vehicle, Griffin advised the USMS that he had
a firearm. The firearm then fell from his waistband. Subsequently, the USMS recovered

a Glock, model 17, 9mm pistol displaying serial number CN993US. A custodial search

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 39 of 62 Document 1

 
 

of Griffin revealed thirteen (13), small, knotted bags containing a rock-like substance:
suspected crack cocaine and one (1) Apple iPhone. Griffin was placed into custody for
a Chicago Police Department Investigative Alert with probable cause to arrest (2017-
OSA-291) for the murder of Nikia Betts (shooting incident where three persons were
shot) and an extraditable warrant issued by Fond Du Lac, WI, for manufacturing and
delivery of heroin.
INTERVIEWS OF SOI-1 & SOI-2

105. On June 20, 2017, ATF Agents traveled to Fond Du Lac, WI to interview
Source of Information 1 (SOI-1). SOI-1 identified Johnathan Griffin (DOB: 10/19/1991) .
from a Facebook photograph and explained that he was also known as “Fat Lord”,
“Gangbang” and “GB". SOI-1 advised that he / she knew that associates of Griffin first
arrived in Fond Du Lac, WI, in 2009 from Chicago’s west side. SOI-1 further explained
they came to. Fond Du Lac, WI because it was a low-key destination and could make
more money from illegal drug sales than they could in Chicago, IL. SOI-1 first met
Griffin in 2013 and new him as crack cocaine dealer. Not long after meeting Griffin,
SOI-1 overheard Griffin having a conversation about getting a 9mm firearm to sell in
the Fond Du Lac area. SOI-1 stated that he/she has observed Griffin in possession of
guns in the past and knows him to carry a gun on his hip. Additionally, Griffin is
known as a subject who people seek to obtain guns. SOIJ-1 also knew that “Shorty”
Lamon Stiggler, moved from Chicago, IL, to Fond Du Lac and sold crack cocaine, |
marijuana, and ecstasy. SOI-1 advised that Stiggler received firearms from Griffin in

the past. Additionally, Griffin would get larger quantities of heroin, break it up into

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 40 of 62 Document 1

 
 

smaller quantities, and provide it to Shakie Davis. SOI-1 explained that Griffin is a
member of the Vice Lord or Four Corner Hustler street gang. This investigation has
revealed that many of the aforementioned firearms purchased in Fond Du Lac area and
recovered in Chicago were associated with Vice Lords and Four Corner Hustler street
. gang members. SOI-1’s information is consistent and credible with the previous
investigation and information provided by SOI-2.

106. On June 20, 2017, ATF Agents traveled to Fond Du Lac, WI,, to interview
Source of Information Number 2 (SOI-2). SOI-2 informed agents that Jonathan Griffin
sold guns in Chicago to make a profit and support the Vice Lord street gang. SOI-2
confirmed that Griffin is a Vice Lord gang member and that he goes by the street
moniker, “Fat Lord” and “Gang. Bang”. SOI-2 advised that he/she participated with
Griffin during two separate straw purchases at Mills Fleet Farm in Fond Du Lac. SOI-2
described the first subject as a white male and the second as a black male. During the
transaction completed by the black male, SOI-2 was instructed by Griffin to take a
photograph with his/her phone of Griffin holding the firearm to be purchased inside
the FFL. SOI-2 complied and provided the picture to Griffin who subsequently posted it
on his Facebook page. SOI-2 believed that the picture may be clear enough that the

firearm’s serial number could be observed. SOI-2 informed agents that Griffin had two

Facebook pages but was only friends with him on one of the pages. SOI-2 explained that

Griffin and other members of the gang use Facebook messenger to logistically organize
drug transactions. Furthermore, SOI-2 said that Griffin and other gang members also

use Facebook video to have discussions which also included criminal acts. SOI-2’s

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 41 of 62 Document 1

 

 
 

 

information is consistent and credible with the previous investigation and information
provided by SOI-1. SOI 2 explained that Griffin was an associate of Jason Spinks (see
paragraph 21) and Vester Ward (see paragraph 29) and Damien Powell sold illegal
drugs in the Fond Du Lac, WI, Area.
FACEBOOK EVIDENCE FOR TREON DENNIS

107. During the review of records associated with the Facebook records of
Profile ID  100011134543692, User ID: Moneykid Ttgang Griffin, URL:
https: / /www.facebook.com/profile.php?id=100011134543692, Affiant | observed
conversations between Facebook ID 100012834436058,
https://www.facebook.com/trig.dennis.52, and Facebook Username “Trig Dennis”.
Your Affiant reviewed the “Trig Dennis” profile and found the images consistent with
booking photographs of Treon D. Dennis (DOB: DOB: 11/29/1983, FBI No. 409519NB4)
and believes this is the Facebook page of Treon Dennis. Dennis is prohibited from
owning firearms for Aggravated Criminal Sexual Assault with Weapon, 720 ILCS
5.0/12-14-A-1 IL (Convicted 06/15/2001) and Armed Robbery, Illinois State Statute 720
ILCS 5.0/18-2-A-4IL (Convicted: 06/15/2001). The following is a summarization of the
conversation between Griffin and Dennis of Facebook:
11/27/2016
GRIFFIN: Got lean
DENNIS: Yup
DENNIS: How much
GRIFFIN: 175 for da bottle of red for u
GRIFFIN sends a photograph of a bottle containing a a red substance to the profile of DENNIS.
DENNIS: Ok

DENNIS: Gave me a minute
GRIFFIN: Ok

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 42 of 62 Document 1

 
 

108. Affiant knows from training and experience that “lean” is common street
terminology for prescription, liquid medicines that contain codeine promethazine.

12/18-19/2016

DENNIS: I got bag now

DENNIS: =5=0=9

GRIFFIN: Yea yeah slide on me let me see
DENNIS: Way

GRIFFIN: Slot

DENNIS: Ok

GRIFFIN: Wya

DENNIS: 7738505154

DENNIS made outgoing call to GRIFFIN
DENNIS: Wya

DENNIS made outgoing call to GRIFFIN

109. Affiant knows from training and experience that “bag” can be slang for
marijuana or other illegal drugs. Affiant also knows from training and experience that a
“Wya” is shorthand for “Where you at”.

110. Affiant also conducted a review of the Facebook page “Shakey Davis”,
URL: https://www.facebook.com/ shakey.davis, Facebook ID No. 100000130434744
belonging to Shakie Davis (male/black/ DOB: 11/15/1994) pursuant to a Federal
search warrant signed by United States Magistrate Judge William Duffin on November
20, 2017. Your Affiant observed communications with Facebook ID 100012834436058,
https:/ /www.facebook.com/trig.dennis.52, and Facebook Username “Trig Dennis”,
believed to be the Facebook page of Treon Dennis. The following isa summarization of

the conversation between Davis and Dennis:

08/27/2016
DAVIS: Yo u got sumbody wit a ball
DENNIS: Yup

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 43 of 62 Document 1

 

 
 

DENNIS made two (2) outgoing telephone calls to DAVIS
DENNIS: HE side 2.25

DAVIS: light come one

DAVIS made two (2) outgoing calls to DENNIS
DENNIS: On my way

DAVIS: Wya

DENNIS: On 7

DAVIS: light

DAVIS: I’m getting High come upstairs
DENNIS made outgoing call to DAVIS

DAVIS made outgoing call to DENNIS
DENNIS made outgoing call to DAVIS
DENNIS: Wya

DAVIS made three (3) outgoing call to DENNIS

111. Affiant knows from training and experience that a “ball” is typically a
reference to a quantity of 1/8 ounce of illegal drugs.

09/10/2016
DAVIS: Don’t forget bout the ps short
DENNIS: Yup

112. Affiant knows from. this investigation that “Ps” are a term used to

describe illegal drug customers who purchase illegal drugs from the group.

09/11/2016
DAVIS makes outgoing call to DENNIS
DAVIS: Hml wen u get back I’m tryna buy a ball

09/24/2016

DAVIS and DENNIS exchange five (5) telephone calls
DENNIS: He not come he coo

DAVIS: light

DENNIS: He said tomorrow

DAVIS: light bet jus don’t forget about me

DENNIS: You good bro

DAVIS: You think bro still gone want that today

10/02-03/2016

DENNIS made two (2) phone calls to DAVIS
DENNIS: Chris says you got 180 for me

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 44 of 62 Document 1

 
 

DAVIS: Ion got it bt I can get it shorty that ain’t no problem she jus now telling me bout
that shit

DENNIS: She said you no

DAVIS: I kno no bt I got u gimmie till like wensday it’s been slow on me

DAVIS made four (4) calls to DENNIS

DAVIS: Too

DENNIS: WHAT'S up

DAVIS made phone call to DENNIS

DAVIS: Shorty I told u I was gone have that for u dis week

DENNIS: She no what she said .

10/18/2016

DAVIS: Need sum bags Way

DAVIS and DENNIS exchanged six (6) phone calls
DAVIS: Jus bring it to the crib shorty

DENNIS and DAVIS exchanged four (4) phone calls.

113. SA Arnold knows that “bags” can be slang for bags of illegal drugs to
include but not limited to marijuana, cocaine, or heroin.
11/30/2016
DAVIS: U up bitch let's get high
GRIFFIN: Come on im already smokin on TT’

DAVIS: bet |

12/18/2016
DENNIS: I got bag now

114. Affiant reviewed records from Facebook profile ID 100000963750382; User
ID “Damo Cash”, URL: https:// www. facebook.com/ damo.cash.7, Facebook Page of
Damien Powell (DOB: 11/07/1986). Affiant observed communications between Powell
and Facebook ID 100012834436058, https://www.facebook.com/trig.dennis.52, and
Facebook Username “Trig Dennis”, suspected Facebook page of Treon Dennis. The
following is a summarization of the conversation:

POWELL: Yooooo
POWELL: U good bro

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 45 of 62 Document 1

 

 
 

DENNIS: WHAT’S up cuz

DENNIS: Wya

POWELL: I needed some dog food
POWELL: Last night

DENNIS: I just made it back from Chicago

115. Affiant knows from training and experience that a “Wya” is shorthand for
“Where you at” and “dog food” is slang for heroin. Affiant also believes when Dennis
stated, “I just made it back from Chicago” he is referring to having returned to Fond Du

Lac, WI.

116. A review of the publically viewable portions of Facebook Profile [ID

100012834436058, https://www.facebook.com/trig.dennis.52, and Facebook Username

 

“Trig Dennis” showed that the profile was “friends” with

 

https: / /www.facebook.com/justin.norton.3511?pnref=lhe.friends, USERN AME:
“Justin Norton”. This is believed to be the same Facebook page of Justin Norton who
had several firearms recovered in Chicago, Illinois.

117. A review of the cellular phone records of Shakie Davis revealed that “Trig
Dennis”, Facebook Profile ID 100012834436058 was contact saved in the phone of Davis.
Furthermore, numerous telephone calls between Davis and “Trig Dennis” were
observed in the cellular phone records. |

CHICAGO FIREARM RECOVERY IN PRESENCE OF DENNIS

us. On May 8, 2016, members of the Chicago Police Department were

dispatched to 130 N. Kostner, Chicago, IL. The complaint from an anonymous citizen

stated that a black male wearing a white t-shirt, black or blue with tan hat-was observed

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 46 of 62 Document 1

 
 

removing a firearm from his waistband and secreting it under the hold of a blue
Volkswagen displaying a specific Ohio license plate number. Upon arrival, officers
observed Treon Dennis as the sole occupant of the vehicle in the front passenger seat.
Dennis explained to officers that the vehicle belonged to his brother who was in a nearby
store. Officers obtained consent to search the vehicle and recovered a Springfield, Model
_XD-40, .40 caliber pistol displaying serial number XD503904. The above incident
occurred in the 11th District on the west side of Chicago and documented under CPD
Report Number HZ256522..

119. A subsequent records inquiry revealed the firearm was listed as stolen
from Fond Du Lac, WI. An ATF Firearms Trace Summary showed the firearm was |
purchased by Timothy Grossman on. April 5, 2012 at Mills. Fleet Farm in Fond Du Lac,
Wisconsin. | |

INTERVIEW OF SOI-3

120. On November 9, 2017, Affiant interviewed SOI-3 who identified a
photograph of Dennis. from Facebook. SOI-3 stated Dennis was an associate of Jason
Spinks (see the above recovery of Firearm 3). SOI-3 further stated that he/ she knew
Dennis sold heroin in Fond Du Lac, WI.

ARREST OF TREON DENNIS

121. On August 1, 2017, Treon Dennis was arrested and charged by the Fond

Du Lac, WL Police Department for the following violations of Wisconsin State Statutes:

e 2 counts of 961.41(1)(d)1, Manufacture /Deliver Heroin greater than

3g

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 47 of 62 Document 1

 
 

e 2 counts of 961.49, Distribute/Possess with Intent to Deliver a
Controlled Substance within 1000 Feet of School
FACEBOOK EVIDENCE FOR BRIAN ROBINSON
122. During the review of records associated with the Facebook records of
Profile ID  100011134543692, User ID: Moneykid Ttgang Griffin, URL:
https: / /www.facebook.com/ profile.php?id=100011134543692, Affiant observed
conversations between Profile ID 100011134543692 and Facebook ID 688885126,
Facebook Username “Brian Bolo Robinson.” A confidential informant, who personally
knew Robinson and Officer Henning of FDLPD who compared booking photos of
Robinson to the pictures on Robinson’s Facebook page confirmed that the
aforementioned Facebook page is that of Brian F. ROBINSON (M/B DOB: 01/16/1990).
The following are excerpts and a summarization of the conversation regarding illegal
narcotics and gang activity:

10/20/2016

ROBINSON: I got hard too now so if you know somebody looking let me know
GRIFFIN: How much for basketball

ROBINSON: $150

ROBINSON: For u. How I’m doing anybody else is 3 for 150 3.5 175

(Affiant know that “hard” is a street term for crack cocaine)

12/26/2016 .

ROBINSON: The lac or city

(Affiant knows the term “lac” to refer to Fond Du Lac, Wisconsin and “city” to refer to
the city of Chicago, Illinois) .

02/02/2017

GRIFFIN sends ROBINSON a photograph of several pills consistent with MDMA style pills
(AKA ecstasy) in the hand of a black subject

ROBINSON: Ima want some too

ROBINSON: These ain’t too strong is they? I ain't never popped before lol

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 48 of 62 Document 1

 

 
 

(Affiant knows “popped” to be slang for ingesting MDMA/Ecstasy)
03/25/2017
GRIFFIN: Let meet up
ROBINSON: Aight where at
GRIFFIN: At meech crib getting sum bags den we can meet at shorty crib
ROBINSON: Aight bet I’m Finna head shorty way in like 10 minutes
GRIFFIN: Bet jus grab sum blunts
(Affiant knows “bags” to refer to smaller packages of marijuana and “blunts” to be
slang for cigars which are hollowed out and used to smoke marijuana. Affiant knows
“meech” to refer to Dimitrius D. PHIPPS (M/B 07/27/1977)).
FACEBOOK INFORMATION GENERALLY
_ 123. Facebook owns and operates a free-access social networking website of

the same name that can be accessed at http://www.facebook.com. Facebook allows its
users to establish accounts with Facebook, and users can then use their accounts to
share written news, photographs, videos, and other information with other Facebook
users, and sometimes with the general public.

124. Facebook asks users to provide basic contact and personal identifying
information to Facebook, either during the registration process or thereafter. This
information may include the user’s full name, birth date, gender, contact e-mail
addresses, Facebook passwords, Facebook security questions and answers (for
password retrieval), physical address (including city, state, and zip code), telephone
numbers, screen names, websites, and other personal identifiers: Facebook also assigns

-a user identification number to each account.
125. Facebook users may join one or more groups or networks to connect and

interact with other users who are members of the same group or network. Facebook

assigns a group identification number to each group. A Facebook user can also connect

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 49 of 62 Document 1

 
 

 

directly with individual Facebook users by sending each user a “Friend Request.” If the
recipient of a “Friend Request” accepts the request, then the two users will become
“Friends” for purposes of Facebook and can exchange communications or view
information about each other. Each Facebook user’s account includes a list of that
user’s “Friends” and a “News Feed,” which highlights information about the user’s
“Friends,” such as profile changes, upcoming events, and birthdays.

126. Facebook users can select different levels of privacy for the
communications and information associated with their Facebook accounts. By
adjusting these privacy settings, a Facebook user can make information available only
to himself or herself, to particular Facebook users, or to anyone with access to the
Internet, including people who are not Facebook users. A Facebook user can also create
“lists” of Facebook friends to facilitate the application of these privacy settings.
Facebook accounts also include other account settings that users can adjust to control,
for example, the types of notifications they receive from Facebook.

127. Facebook users can create profiles that include photographs, lists of
personal interests, and other information. Facebook users can also post “status”
updates about their whereabouts and actions, as well as links to videos, photographs,
articles, and other items available elsewhere on the Internet. Facebook users can also
post information about upcoming “events,” such as social occasions, by listing the
event’s time, location, host, and guest list. In addition, Facebook users can “check in” to
particular locations or add their geographic locations to their Facebook posts, thereby

revealing their geographic locations at particular dates and times. A particular user’s

Case 2:17-mj-00249-NJ Filed 03/20/18. Page 50 of 62 Document 1

 
 

profile page also includes a “Wall,” which is a space where the user and his or her
“Friends” can post messages, attachments, and links that will typically be visible to
anyone who can view the user’s profile.

128. Facebook allows users to upload photos and videos, which may include
any metadata such as location that the user transmitted when s/he uploaded the photo
or video. It also provides users the ability to “tag” (i.e., label) other Facebook users in a
photo or video. When a user is tagged in a photo or video, he or she receives a
notification of the tag and a link to see the photo or video. For Facebook's purposes, the
photos and videos associated with a user’s account will include all photos and videos
uploaded by that user that have not been deleted, as well as all photos and videos
uploaded by any user that have that user tagged in them.

129. Facebook users can exchange private messages on Facebook with other
users. These messages, which are similar to e-mail messages, are sent to the recipient’s
“Inbox” on Facebook, which also stores copies of messages sent by the recipient, as well
as other information. Facebook users can also post comments on the Facebook profiles
of other users or on their own profiles; such comments are typically associated with a
specific posting or item on the profile, In addition, Facebook has a Chat feature that
allows users to send and receive instant messages through Facebook. These chat
communications are stored in the chat history for the account. Facebook also has a
Video Calling feature, and although Facebook does not record the calls themselves, it

does keep records of the date of each call.

Case 2:17-mj-00249-NJ_ Filed 03/20/18 Page 51 of 62 Document 1

 
130. If a Facebook user does not want to interact. with another user on
Facebook, the first user can “block” the second user from seeing his or her account.

131. Facebook has a “like” feature that allows users to give positive feedback
or connect to particular pages. Facebook users can “ike” Facebook posts or updates, as
well as webpages or content on third-party (i.e., non-Facebook) websites. Facebook
users can also become “fans” of particular Facebook pages.

132. Facebook has a search function that enables its users to search Facebook
for keywords, usernames, or pages, among other things.

133. Hach Facebook account has an activity log, which is a list of the user’s
posts and other Facebook activities from the inception of the account to the present.
The activity log includes stories and photos that the user has been tagged in, as well as
connections made through the account, such as “liking” a Facebook page or adding
someone as a friend. The activity log is visible to the user but cannot be viewed by
people who visit the user’s Facebook page.

134. Facebook Notes is a blogging feature available to Facebook users, and it
enables users to write and post notes or personal web logs (“blogs”), or to import their
blogs from other services, such as Xanga, LiveJournal, and Blogger.

135. The Facebook Gifts feature allows users to send virtual “gifts” to their
friends that appear as icons on the recipient’s profile page. Gifts cost money to
purchase, and a personalized message can be attached to each eit Facebook users can
also send each other “pokes,” which are free and simply result in a notification to the

recipient that he or she has been “poked” by the sender.

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 52 of 62 Document 1

 
 

 

136. Facebook also has a Marketplace feature, which allows users to post free
classified ads. Users can post items for sale, housing, jobs, and other items on the
Marketplace.

137. In addition to the applications described above, Facebook also provides its
users with access to thousands of other applications (“apps”) on the Facebook platform.
When a Facebook user accesses or uses one of these applications, an update about that
the user's access or use of that application may appear on the user’s profile page.

138. Some Facebook pages are affiliated with groups of users, rather than one
individual user. Membership in the group is monitored and regulated by the
administrator or head of the group, who can invite new members and reject or accept

_requests by users to enter. Facebook can identify all users who are currently registered
to a particular group and can identify the administrator and/or creator of the group.
Facebook uses the term “Group Contact Info” to describe the contact information for
the group’s creator and/or administrator, as well as a PDF of the current status of the
group profile page.

139. Facebook uses the term “Neoprint” to describe an expanded view of a
given user profile. The “Neoprint” for a given user can include the following
information from the user’s profile: profile contact information; News Feed

_ information; status updates; links to videos, photographs, articles, and other items;

Notes; Wall postings; friend lists, including the friends’ Facebook user identification.

numbers; groups and networks of which the user is a member, including the groups’

Facebook group identification numbers; future and past event postings; rejected

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 53 of 62 Document 1

 

 
“Friend” requests; comments; gifts; pokes; tags; and information about the user’s access
and use of Facebook applications.

140. Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP
address. These logs may contain information about the actions taken by the user ID or
IP address on Facebook, including information about the type of action, the date and
time of the action, and the user ID and IP address associated with the action. For
example, if a user views a Facebook profile, that user’s IP log would reflect the fact that
the user viewed the profile, and would show when and from what IP address the user
- did so.

141. Social networking providers like Facebook typically retain additional
information about their users’ accounts, such as information about the length of service
(including start date), the types of service utilized, and the means and source of any
payments associated with the service (including any credit card or bank account
number). In some cases, Facebook users may communicate directly with Facebook
about issues relating to their accounts, such as technical problems, billing inquiries, or
complaints from other users. Social networking providers like Facebook typically retain
records about such communications, including records of contacts between the user and
the provider’s support services, as well as records of any actions taken by the provider
or user as a result of the communications.

142. As explained herein, information stored in connection with a Facebook
account may provide crucial evidence of the “who, what, why, when, where, and how”

of the criminal conduct under investigation, thus enabling the United States to establish

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 54 of 62 Document 1

 
 

 

and prove each element or alternatively, to exclude the innocent from further suspicion.
In my training and experience, a Facebook user’s “Neoprint,” IP log, stored electronic
communications; and other ‘data retained by Facebook, can indicate who has used or
controlled the Facebook account. This “user attribution” evidence is analogous to the
search for “indicia of occupancy” while executing a search warrant at a residence. For
example, profile contact information, private messaging logs, status updates, and
tagged photos (and the data associated with the foregoing, such as date and time) may
be evidence of who used or controlled the Facebook account at a relevant time. Further,
Facebook account activity can show how and when the account was accessed or used.
For example, as described herein, Facebook logs the Internet Protocol (IP) addresses
from which users access their accounts along with the time and date. By determining
the physical location associated with the logged IP addresses, investigators can
understand the chronological and geographic context of the account access and use
relating to the crime under investigation. Such information allows investigators to
understand the geographic and chronological context of Facebook access, use, and
events relating to the crime under investigation. Additionally, Facebook builds geo-
location into some of its services.. Geo-location allows, for example, users to “tag” their
location in posts and Facebook “friends” to locate each other. This geographic and
timeline information may tend to either inculpate or exculpate the Facebook account
owner. Last, Facebook account activity may provide relevant insight into the Facebook
account owner's state of mind as it relates to the offense under investigation. For

example, information on the Facebook account may indicate the owner’s motive and

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 55 of 62 Document 1

 
intent to commit a crime (e.g., information indicating a plan to commit a crime), or
consciousness of guilt (e.g., deleting account information in an effort to conceal
evidence from law enforcement).

143. Therefore, the computers of Facebook are likely to contain all the material
‘described above, including stored electronic communications and information
concerning subscribers and their use of Facebook, such as account access information,
transaction information, and other account information.

IV. INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

144. I anticipate executing this warrant under the Electronic Communications
Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using
the warrant to require Facebook to disclose to the government copies of the records and
other information (including the content of communications) particularly described in
Section I of Attachment B. Upon receipt of the information described in Section I of
Attachment B, government-authorized persons will review that information to locate
the items described in Section II of Attachment B.

V. CONCLUSION

145. Based on the foregoing, I request that the Court issue the prosed search
warrant.

146. This Court has jurisdiction to issue the requested warrant because it is “a
court of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),
(b)(1)(A) & (c)(1)(A). Specifically, the Court of the Eastern District of WI is a district

court of the United States that has jurisdiction over the offense(s) being investigated, 18

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 56 of 62 Document 1

 
 

 

U.S.C. § 2711(3)(A)G). Pursuant to 18 U.S.C. § 2703(g), the presence of a law

enforcement officer is not required for the service or execution of this warrant.

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 57 of 62 Document 1

 
 

 

ATTACHMENT A
Property to Be Searched:
This warrant applies to information associated to information between January 1, 2009
and present date associated with the following Facebook page: Facebook ID: 688885126,

and Facebook Username “Brian Bolo Robinson”.

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 58 of 62 Document 1

 
 

ATTACHMENT B

Particular Things to be Seized:

I. Information to be disclosed by Facebook

To the extent that the information described in Attachment A is within the

possession, custody, or control of Facebook, including any messages, records, files, logs,

or information that have been deleted but are still available to Facebook, or have been

preserved pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to

disclose the following information to the government for each user ID listed in

Attachment A:

a.

All contact and personal identifying information, including: full name,
user identification number, birth date, gender, contact e-mail addresses,
Facebook passwords, Facebook security questions and answers, physical
address (including city, state, and zip code), telephone numbers, screen
names, websites, and other personal identifiers.

All activity logs for the account and all other documents showing the
user’s posts and other Facebook activities;

All photos uploaded by that user ID and all photos uploaded by any user
that have that user tagged in them;

All profile information; News Feed information; status updates; links to
videos, photographs, articles, and other items; Notes; Wall postings;

friend lists, including the friends’ Facebook user identification numbers;

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 59 of 62 Document 1

 

 
 

groups and networks of which the user is a member, including the
groups’ Facebook group identification numbers; future and past event
postings; rejected “Friend” requests; comments; gifts; pokes; tags; and
information about the user’s access and use of Facebook applications;

All other records of communications and messages made or received by
the user, including all private messages, chat history, video calling history,
and pending “Priend” requests;

All “check ins” and other location information;

All IP logs, including all records of the IP addresses that logged into the
account;

All records of the account’s usage of the “Like” feature, including all
Facebook posts and all non-Facebook webpages and content that the user
has “liked”;

All information about the Facebook pages that the account is or was a
“fan” of;

All past and present lists of friends created by the account;

All records of Facebook searches performed by the account;

All information about the user’s access and use of Facebook Marketplace;
The types of service utilized by the user;.

The length of service (including start date) and the means and source of
any payments associated with the service (including any credit card or

bank account number);

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 60 of 62 Document 1

 
 

 

O. All privacy settings and other account settings, including privacy settings

for individual Facebook posts and activities, and all records showing
_ which Facebook users have been blocked by the account;

p: All records pertaining to communications between Facebook and any
person regarding the user or the user’s Facebook account, including
contacts with support services and records of actions taken.

II. Information to be seized by the government

All information described above in Section I that constitutes fruits, evidence and
instrumentalities of violations of 21 U.S.C. 841(a)(1) (manufacture, dispense, disperse a
controlled substance), since January 1, 2016, for each user ID identified on Attachment
A, information pertaining to the following matters:

(a) The relevant offense conduct, any preparatory steps taken in furtherance
of the scheme, communications between the suspect and others related to
the relevant offense conduct in the above-listed crimes;

(b) Evidence indicating how and when the Facebook account was accessed or
used, to determine the chronological and geographic context of account
access, use, and events relating to the crime under investigation and to the
Facebook account owner;

(c) Evidence indicating the Facebook account owner’s state of. mind as ‘it
relates to the crime under investigation; -

(d) The identity of the person(s) who created or used the user ID, including

records that help reveal the whereabouts of such person(s).

!

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 61 of 62 Document 1

 
 

(e) The identity of the person(s) who communicated with the user ID about
matters relating to relevant offense conduct of the above-listed crimes,
including records that help reveal their whereabouts.

(f) Based on the forgoing, I request that the Court issue the proposed search

warrant based on the aforementioned facts.

Case 2:17-mj-00249-NJ Filed 03/20/18 Page 62 of 62 Document 1

 
